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                  Plaintiff Exhibit 44
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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                         Case No. 9:19-cv-81160
     APPLE INC.,
                         Plaintiff,
             v.

     CORELLIUM, LLC,

                         Defendant.




             DEFENDANT’S NOTICE OF SERVING FIFTH AMENDED ANSWERS
                  TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

           Defendant Corellium, LLC (“Corellium”), by and through undersigned counsel, pursuant

    to the Federal Rules of Civil Procedure, hereby files this Notice of Serving Fifth Amended

    Answers to Plaintiff, Apple Inc.’s (“Apple”), First Set of Interrogatories.

     Dated: April 18, 2020                            Respectfully submitted,

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                                                      and


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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 18 day of April, 2020, a true and correct copy of the

    foregoing document has been furnished via email to counsel of record identified below.

                                          /s/ Justin B. Levine
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          The Corellium product uses exclusively Corellium-developed and third-party technology
          to perform the loading process of iOS. In particular, the "boot loader" used by Corellium
          is not a derivative work of Apple device firmware. Similarly, the SEP model used by
          Corellium does not contain a copy of Apple SEP firmware. Corellium developed those
          integrated pieces separately based on clean-room reverse engineering of freely available
          Apple products.

          The Corellium product loads iOS from a separate firmware archive that is not provided by
          Corellium. Subsequently, the firmware is modified at load time to achieve interoperability
          with Corellium - much like an operating system loads an executable - and to add the
          following significant features that are relevant to the research and testing markets:

              •   optional "jailbreak" of the Virtual Device, where users are enabled to load
                  unprotected, unencrypted programs for research and testing purposes,

              •   tracing features like CoreTrace or KAlloc heap debugger, which enable deeper
                  insight into the OS than provided by Apple software,

              •   kernel debugger support, which is considered to be a basic and essential research
                  tool that is not provided by Apple,

              •   ability to save and restore the complete state of the device while it's running
                  (including state normally hidden from the user), which is a feature exclusive to
                  Virtual Devices,

              •   ability to control features that are always-on on Apple hardware, in particular PAC,
                  APRR and KTRR system integrity protection.

          Note that “jailbroken” Virtual Devices offer a different set of features than “jailbroken”
          physical phones. In particular, Corellium Virtual Devices do not contain cryptographic
          keys required to access protected iTunes store content. They are substantially aimed
          towards enabling researchers to gain greater understanding of the software running inside.
          Because this is transformative, it is fair use.

   INTERROGATORY NO. 6: Identify and fully describe any and all licenses or authorizations
   that You contend permitted You to create the Corellium Apple Product, including but not limited
   to describing the Person to whom the license or authorization was granted and the Person who
   granted it, the scope of the license or authorization, the date and place the license or authorization
   was granted, for what period of time the license or authorization was granted, under what terms or
   restrictions the license or authorization was granted, and the consideration that was provided for
   the license or authorization.

          ANSWER:           Various Apple employees, including but not limited to Jason Shirk, Jon
          Andrews, Craig Federighi, and Ivan Krstić, were aware of and encouraged Corellium to
          further develop its technology.




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          Corellium-008346.000001
          Corellium-008375.000001
          Corellium-008379.000001
          Corellium-008489.000001
          Corellium-008539.000001
          Corellium-008585.000001
          Corellium-008636.000001
          Corellium-008660-000001
          Corellium-008667.000001
          Corellium-008709.000001
          Corellium-008723.000001
          Corellium-008871.000001
          Corellium-008948.000001
          Corellium-008963.000001
          Corellium-008996.000001
          Corellium-009028.000001
          Corellium-009103.000001
          Corellium-011343.000001
          Corellium-011246.000001
          Corellium-012315.000001
          Corellium-014360
          Corellium-014367
          Corellium-014372
          Corellium-014375
          Corellium-017021
          Corellium-014521

   INTERROGATORY NO. 9: Separately for each version or installation of the Corellium Apple
   Product Identified in Interrogatory No. 1, state the following information for the Corellium Apple
   Product and any license of the Corellium Apple Product for each fiscal quarter from the formation
   of Corellium to present: (1) the Dates of each sale or license, (2) the type of sale or license (e.g.,
   private installation or access to Corellium Apple Product), (3) the customer for each sale or license,
   (4) the Person(s) billed for each sale or license (whether the same as the customer or different), (5)
   the address where any private installations occurred, (6) the terms of each sale or license, and (7)
   the price paid for each sale or license, including whether no monetary amount was paid.

          ANSWER:           Corellium objects to this Interrogatory as it seeks disclosure of
          proprietary, confidential and/or trade secret information regarding Corellium’s business
          and product. Specifically, Apple is seeking confidential information about clients relative
          to the terms of their individual purchase from Corellium. However, individual purchase
          terms are neither necessary to show damages nor whether infringement or a violation of
          the DMCA has occurred. In that regard, notwithstanding the fact that each client’s sale
          terms are highly sensitive, they are not relevant to any issue in this case.




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   INTERROGATORY NO. 10: Separately for each version or installation of the Corellium Apple
   Product Identified in Interrogatory No. 1, state the following information for the Corellium Apple
   Product and any license of the Corellium Apple Product for each fiscal quarter from the formation
   of Corellium to present: (1) revenue received by Corellium for each sale or license; (2) costs of
   any goods sold for each private installation of the Corellium Apple Product; (3) standard costs
   (and any other costs) for Corellium; (4) research and development costs attributable to the
   Corellium Apple Product; (5) per-sale or per-license profit, and (6) total profit for Corellium from
   sales of the Corellium Apple Product.

          ANSWER:            Corellium objects to this Interrogatory as it seeks disclosure of
          proprietary and confidential information from Corellium. Corellium responds only under
          the protection of the Protective Order under Fed. R. Civ. P.26(c).



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   INTERROGATORY NO. 11: Separately for each version or installation of the Corellium Apple
   Product Identified in Interrogatory No. 1, state Your historical and currently projected revenues,
   projected costs, and projected per-sale profits for at least five (5) years into the future for the
   Corellium Apple Product.

          ANSWER:           Corellium objects to this Interrogatory as it seeks disclosure of
          proprietary, confidential and trade secret information regarding Corellium’s business and
          product. Corellium responds only under the protection of the Protective Order under Fed.
          R. Civ. P.26(c).

                                               REDACTED

   INTERROGATORY NO. 12: Describe Your advertising, promotion, or marketing of the
   Corellium Apple Product, including the advertising, promotion, or marketing of (1) all features
   thereof; and (2) all products or services used in conjunction with the Corellium Apple Product.
   Include the Dates, locations, and description of all conferences at which one or more Corellium
   LLC employees publicly advertised or discussed the capabilities of the Corellium Apple Product,
   all paid advertising campaigns, all social media promotion, all advertising agencies used, all
   purchased media buys, all free media (including but not limited to interviews given by employees
   or owners of Corellium LLC), and any and all other means of advertising, promoting, or marketing
   the Corellium Apple Product from inception to the present.

          ANSWER: Corellium states as follows:

          Conferences

          Black Hat 2018
             • Conference name: Black Hat USA 2018
             • Date: August 4 – 9, 2018
             • Location: Las Vegas
             • Description of Conference: “Black Hat is the most technical and relevant
                information security event series in the world. For more than 20 years, Black Hat
                Briefings have provided attendees with the very latest in information security
                research, development, and trends in a strictly vendor-neutral environment. These
                high-profile global events and trainings are driven by the needs of the security
                community, striving to bring together the best minds in the industry. Black Hat
                inspires professionals at all career levels, encouraging growth and collaboration
                among academia, world-class researchers, and leaders in the public and private
                sectors.”
             • Attended by: Chris Wade, Amanda Gorton, Rob Turner, David Wang
             • Description of Activity: Corellium met privately with peers, partners, and potential
                clients.

          Black Hat 2019

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                          DECLARATION UNDER PENALTY OF PERJURY
          I, Amanda Gorton as the authorized representative and on behalf of Corellium, LLC,

   declare under penalty of perjury under the laws of the United States of America that the foregoing

   Fifth Amended Answers to Apple, Inc.’s First Set of Interrogatories are true and correct. Executed

   on April 18, 2020.



                                                _________________________________
                                                AMANDA GORTON

                                                AS THE AUTHORIZED REPRESENTATIVE
                                                AND ON BEHALF OF CORELLIUM, LLC.
